Case 2:16-cv-06202-CAS-PJW Document 1-1 Filed 08/18/16 Page 1 of 17 Page ID #:7




                         EXHIBIT A
Case 2:16-cv-06202-CAS-PJW Document 1-1 Filed 08/18/16 Page 2 of 17 Page
                                                                     i--19ID #:8~ ~~~
                                                                           -tb

                                                                                                                    C~PY
                                                                                                                                                                     SUM-100
                                                SUMMONS                                                                                      FOR COJ.JIU V.% CWL t'
                                                                                                                                         fSOLO PARA USO {); t.A CORTE!
                                        (CITA CION JUDICIAL)
   NOTICE TO DEFENDANT:
   (AVISO AL DEMANDADO):
    PROG LEASING LLC, dba PROGRESSIVE FJNANCE

    YOU ARE BEING SUED BY PLAINTIFF:
    (LO ESTA DEMANDANDO EL DEMANDANTE):
    l'v1A.URIC2 PiERCE
                                                                                                                      c;01<J'
                                                                                                                                     .
                                                                                                                             2f'W'L Fl~g,.,\0.
                                                                                                                      ~~;10r c~or~ M~\09
                                                                                                                            coul'ltY'     0
                                                                                                                                              MEocOF'l
                                                                                                                                                                          J.
                                                                                                                                   JUL 15 1.\l\b
                                    ~~~-~~~~~~~~~~~·~~~~~~~~~~~;
     ~OTlCE! You have been sued. TI1e court may dadtie a.galnst Y<'U wilho~tyour betng heard unless you respond ~lttlin 30 da~. Ra~~ Jfl~ ~~t~E1Uon                                   J
     oalow.                                               . ._, .,., __ l •• t .. ~ •                                                                                                 !
       Yo.u tutue. 30 CAlENDAR DAYS afiE>..r tl't~ St.nl'iiMM and !eg~l papel"$ are served oo yo11 to fi~_.e~,~~ response ~kQ~~~t¥f,.l'lj'S.l.le'a oopy
     served Or\ the plaintiff. A fetter or phone calf w~! not protect you. Yourwrltren re,s,:.fl.nse must b5 irtl5fb'Pjr,iaMf 1[Qnrt?. ~Iii W.iiU'ihe courl to haer your
     c~se. 11"tere may be a ccurt loon lha: you can \Jsc for yo•.!f' r-esponse. You can         tir.<J these court fQmts M~ tnon: fnformation at the Cal!tofnia CGurts
     On tina Salf.-H~~ Center ('J.lltJW. counbr[o.ca.goiiiSelfhefp), your county lmv library. or the ct:LJrthouoo nearesr ycu.. If you cannot pa-y !he flUng fee, ask
     \he cot~rt ci-Pft ror a fae w<oiver form. lfy()U tio not me ~our respcn..<;e en U!'t:.-a, you !"Pa\1 kme tha case by default. and your 01iages, rr.-oney, and prnperi.y
     may be taken without fur'Jler warning fivm the c:;urt.
           The-re ate o~hcr legal requirement~. You may wanl to call em attorney rig hi away. 1fycu do not Jl.now an atlomay, you may V/Qnt tu C3U an attomey
     rotorr~ ser.nca.. If you c;.~or.::;t afford an attor.ay, you may be ~llgible br fl'ee l-ege! -:sertke5 trc:m e. oonprolll !egal services progra:m. You C""cn locate
     thass ne:1.proM .gro\lp.s ?."! the C.a!lfornla Legal scrv.;ces. Web sile (wwwJ.awh-eJpcviifom!a.Cl!/}, the CaUfomie Cou~ Otiflne Seil-4-lelp Cer1!er
     (",rJ'W't.·.:;ourYn!o.~..u.gcr.rAwffi~<J/p}, or by contacting your ~cal-cou1t o~ county bar aasociatioo. NOTE: The court has a .statutoJY lien forw-a!vecl r~s and
     cost~ on -atlY settlement or arbitration SJWarci of S1 0,000 or more in a civll :as.e. The caUtt's llell mast be paid before the court w!U Cisrn~ss the case.
    f.IJ. VIS OJ Lo.!Km dsmam:Jeo'o. Si na responde dsntfo da "31) dias, /.a corte puede decrdfren sl.l ccntrt~ stn escuei'lar sll ve-rsf6n. l.Da ie irrfr.::rmaci6n a
    o:n:tirw~C:Cn.
       r;ene 30 D]AS OE CA!ENDARJO de.sp!il!!s de que Je $Jlftegl.ltm esla oifscl6n y pa_ooles iegafes paro. presetJter una rospccsta par escrli<; en ~sla
    C!U'!e y il8Ct.Jt que .se Ml:eg-.;e una copia af demsndante. Una cane o una !(;~mada tele!Dn;ce no to protegen. Su respuesta pot ascrito tiens qve S$t.ar
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    blblicloca da lew~s de su condsdoo en !a r;ortQ quo le Ql1qda- ma-s c~. Sf nQ puede p.f!gar/9 a.mt& de presetJtsni6n, pida el secrslaria de Ia eotte
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      Hay otros requisi:os !f"4}alfN~. 8s rocomel!dabie Qile !Jame a ;.m abogedc.lnmedmt3monia. Sino conoce a itn abogado. puMa /lam;;r a un servtr::lo de
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    c.,fegic de etag.:~acs 1aca./es. AVISO: Por Jey, !a corte tiene derecho a me lamar las cuc~;;~s y los ccx;tos ~.er:fo.s par imponer urJ gravamen scbrs
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   The name and address of the court 1s:                           ·------------------------------,~~~~~,~-~~-~,.~.~.------------------------~
                                                                                                                     (;V!j.,l.'IICt6oiC~~tl)!
   (£1 nombro ;t d/tec<Jion do Ia aorto oa):        Superior Court of Los Angeles
    111 Nofth Hill S!,
   Los Angeles, CA 90012
  The name, address, and telephone number of plaintiffs atlomey, otpiainUffwiUlout an :rttarney, is:
  (EI nomb.re, Ia ditoccf6n '/ eJ nUmeto de tefetono do! abogtJG'O dui dG!trandante, o rleJ demendanie quo no lier.e ebogado, es}:
   Todd M. Fri<::drmm, 324 S. Beverly Dr., #725, Beverly Hills, CA 90212, 877-206-4741
                    .,mn                                                         "'
                                                                                 thc.~-.~c:n'"' ffi~t.:tM- .... ~.
   OATE:
  (,r::e.oclu:)
                jul 15     t:                       ~'.'"'c.::";?, ~1\~'f.:-::·~.,     Clerk. by
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                                                                                                                                                                         (Acljunto)
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  {Para prusba do f.mtt-aga de esfa citaii6n usa e-1 fDrm:;lario Prcof of Service of Sui'n:Jlons, (POS-D10)).
                         ·---·] NOnCE TO THE PERSON SERVED: You are S<>Ned
                                1  1, 0       a:=~ an indNiduat defendant.
                                   2. !     J as ths person sued under ~he fictitious name of (sp~fyJ:
Case 2:16-cv-06202-CAS-PJW Document 1-1 Filed 08/18/16 Page 3 of 17 Page ID #:9


                                                                              C~PY

        Todd M. Friedman (216752)
        Adrian R Bacon (280332)
   2
        Law Offices of Todd M. :Friedman, P.C.
   3    324 S. Beverly Dt-. #725
        Beverly llills, CA 90212
   4    Phone: 877-206-4741
        Fax: 866-633-0228
   5
        tft·icdman@toddflaw.coro                                       .lUL 1 5 2Jl\6
   6    a!3acon@todd flaw .com
                                                                                                       .• cclrJCierl<
        Attorneys ·ror Plaintiff
                                                                            . ,S•   •>i.t.i'-tlSI!I!'lt,.!IJap:Uty
   7
                          SUI'Jl:RIOR COURT OF THE STATE OF CALlFOR.!'liA
   8
                                   FOR THE CotJNTY OF· LOS ANGELES
   9                                    LIMITED JURISDfCTJON

  10
                                          ) casct~·K                    o8 9 52
                                          )
  1!
        MAURICEPJERCE.
                                          ) COMPLAINT
                        Plaintiff,        ) (Amount not to exceed $1 0,000)
                                          )
  13                                           1. Violation of Rosenthal Fa:ir Dehi
        -vs-                              )
  14                                      )       Collection Practices Act
        PROG LEASlNG LLC, dba PROGRESSIVE )   2.  Violation of Fair Debt Co.llection
  15    .FfKt\NCE,                        )       Practices Act
                                          )   3. Violation of Telephone ConSttmcr
  16
                        Defendant.        )       Protection Act
  17
                                          )   ______
  18                                         I. lt'IITRODt;CTION
  19           L This is an action for damages brought by an individual consumer for Defendant's
  20    violation~   of the Rosenthal Fair Debt Collection Practices Act, Cal Civ Code §1788, et seq.
  21    (hereinafter "RFDCPA") and the Fair Debt CoUection Practices Acr, 15 U.S.C. § 1692, er seq.

  22    (htOreinaJl:er "FDCPA"), both of which prohibit debt collectors from engaging in abusive,

  23    deceptive, and unfilir pmcliGcs. Ancillary to the claims above, Plaintiff further alleges claims

  24    for Defendant's violations of the Telephone Consumer Protection Act., 47 U.S.C. §227, el seq.

  25    (hereinafrer ''TCPA").
  ?.6                                         IT. PARTIES

  27           2.       Plaimif'f; Mi\1JR1CE J>IERCE ("Plai11tiff'), is a   n~turai          person rz~'iding in LOS

  28    ANUEI~ES County in IJ1e state of California, and    is a "consumer" as defined by the FDCPA, l5



                                                    Complaint- 1
Case 2:16-cv-06202-CAS-PJW Document 1-1 Filed 08/18/16 Page 4 of 17 Page ID #:10




              U.S.C. §1692a(3), is a "debtor" as defined by RFDCPA, Cal Civ Code §17S8.2(h), and is a

    2         "person" as defined by 47 U.S. C. § 153 (1 0).

                      3.       At all televant times herein, Defendant, PROG LEASING LLC, dba
    4         PROGRESSfVE FINANCE ("Defendant") was a company engaged, by usc of the mails and
    5         telephone, in the business of collecting a debt from Plaintiff which qualifies as a "debt," as
    6         defined by 15 U.S.C. §1692a(S), and a "consumer debt," as defined by Cal Civ Code
    7         §1788.2(f).    Defendant regularly attempts to collect debts a!Jeged to be due another, and
    8         therefore is a "debt collector" as defined by the FDcPA, 15 U.S.C. §1692a(6), and RFDCPA,
    9         Cal Civ Code §l788.2(c). Further, Defendant uses an "automatic telephone dialing system" as

   10         defined by the TCPA, 47 U.S.C. §227.

   11                                          ill. FACTUA.LALLEGATIONS
   i2                         At various .and multiple times prior to the filing of the instant complaint,
   ;3         including within the one ·year preceding the filing of this complaint, Defendant contacted

   1<1        PlaintiiTrega•·ding an alleged debt.

   15                 5.       On and before Fcbn~ary 2016, Defendant made various phone calls to Plaintiff

   1.6        regarding an alleged debt, and contacted Plaintiffs cell phone number ending in -8586

   11         Defendant has made numerous harassing calls to Plaintiff; Plaintiff had also advised multiple

   18         times for .Defendant to stop 1mlking phone calls, but Defendant fails to cease the calls.
   19         Dcfcncbn.t called Plaintiff from a phone that was verified as a number owned by Defendant.

   20                 6.      Defendant made enougb calls to be considered harassment, and thus caused high

   21         levels of stress to Plaintiff.

                      7.      As a result of Defendant's actions, Plaintiff ..-etained counseL       A notice of

   23         representation was sent to Defendant on Febmary 19,2016. Defendant has not only failed to

   21         respond favorably, if at all, to this letter as of present, but has continued to contact Plaintiff

   25     Iwhilst av.iru-e that Piaintiffis represe11ied hy counsel.
   26                 8.      furthermore, during ali relevant times, Defendant used an "automatic telephone

   27    ij dialing sy~tem'',    as defined by 47 U..\'.C. § .?27(a)(l), to place it" Tcpeatcd collection calls to
         '•
   28    11 Plaintiff seeking to collect the debt allegedly owed.
         II           9.      Defcmlanl's calls constituted calls that were not for emergency        purpos~~   ss
         'I
          1                                                Complaint· 2

          !
       Case 2:16-cv-06202-CAS-PJW Document 1-1 Filed 08/18/16 Page 5 of 17 Page ID #:11




                    defined by 47 U.S. C.§ 227(b){l)(A),
               2           10.       Defendant's calls were placed to telephone number assigned to a cel!u Jar
               3    telephone service for which Plaintiff incur a charge for incoming calls pursuant to 47 U.S. C.

               4    §227(b)(l).
               5           II.       During all relevant times, Defendant did not have Plaintiff's prior consent to be

               6    contacted via an "automated telephone dialing system".
               7           12.       Defendant's conduct violated the FDCPA and the RFDCPA in multiple ways,

               8    including but not Hmitcd to:
               ,
              10           a) Causing a te.lephone to ring repeatedly or continuously to annoy Plaintiff
                              (Cal Civ Code§ l788.11(d));
              II

              12
                           b) Communicating, by telephone or in person, with Plaintiff with such
                              frequency as to be unreasonable and to constitute an harassment to Plaintiff
              13              undeT the circumstances (Cal Civ Code§ 1788.11(c));

                           c) Causing l:'laintiJ1s telephone to ring repeatedly or continuously with intent to
              15              harass, annoy or abuse Plaintiff(§ J692d(5));

              16           d) Communicating with Plaintiff at times or places which were known or
                              should have been known to be inconvenient for Plaintiff(§l 692c(a)(l)) ;and
              17

              !8           e) Engaging in conduct the natlJral consequence of which is to harass, oppress,
                              or abuse Plaintiff(§ 1692d))
              19

              20           I) Where f)t;fendani had not yet made an attempt to contact Plaintiff's counsel
                              or had not given ,Plaintiff's counsel su:fficicm time to rc;;pond to the initial
              2i
                              attempt to communicate with .PiaintiJI's counsel., and >vhere Plaintiff's
                              counsel had not given Defendant permission to contact l'lainti!T directly,
                              communicating with Pla.inliii directly a:ller learning that PlaintirT is being
              2J              represented by counsel (§ l692e(a)(2)
              24
___________   (].          13.       D~ff;)ndanFJ! ~om!,Jct violated   the TCPA by:
                                  a) using any automatic telephone dialing system or an artiJ)cial or pre-
              26
                                     recorded voice to any telephone 11umber assigned to a paging service,_
              ,.,                    cellular tdephone service, special.izcd mobile radio service, or other
              '·'
                                     radio common carrier service, or any service for which the called party is
                                     charged lor the call (47 USC §227(h)(A)(iii)).




                                                                  Camplo.ittt · 3
       Case 2:16-cv-06202-CAS-PJW Document 1-1 Filed 08/18/16 Page 6 of 17 Page ID #:12




                              J4.     As a result of the above violations of the FDCPA, RFDCPA, and TCPA,

             2        Plaintiff suffered and continues to suffer injury to Plaintiffs feelings, personal htmliliation,

             3        embarrassment, mental an.guish and emotional distr~s.         Defendant is Liable to Plaintiff for
             4        Plaintiffs actual damages, statutory damages, and costs and attorney's fees.
              5

             6                                  COUNT l: VIOLATION OF ROSENTHAL
                                            FAIR DEBT COLLECTION PRACTICES ACT
             7
                              15.    Plaintiff reincorporates by reference all of the preeedingparagraphs.
             8
                              16.    To the extent that Defendant's actions, counted above, violated the RFDCPA,
             9
                      those actions were done k.'1owingly and willfully.
           10
                                                          PRAYER FOR RELIEF
           11
                              WHEREFORE, Plaintiff respectfully prays tl1at judgment be entered against Defendant
           12
                      for the following:
           13
                                     A.      Actual damages;
           14                        B.      Statutory damages for willful and negligent violations;
                                     c.      Costs and reasonable attorney's fees,
           15                        D.      For such othe.r and further relief as may be just and proper.

           16
                                                COUNT U: VIOLATION OF FAJR DEBT
           17                                       COLLECTION PRACTICl!:S ACT
                               _,
                              1I.    Plaintiff reincorpi>rates by reference all of the preceding paragtaphs.
           13
                                                          PRAYToR FORRELIEF
           19
                             VlHEREFORE, Plaintiff respectfully prays that judgment be entered against Defendant
           20
                      for the following:
           21
                                     A.      Actual damages;
           7.7.                      B.      Statutory damages;
           23
                                     c.      Costs and reasonable attorney's fees; and,
                                     D.      For such other and further relief as may be just and prope.r.
           24
=====9~,= .COJJ.N.TJIJ;-V.lOLAJ";IO;'l~OF..I;ELKl!HO.Q.'E.C.ONS.UMER.Jm.O.l:.EC-:tT.O.&.A.Gf_=i====

           26                18.     Plain tifT incorporates by reference all of tho preceding paragraphs.

           27     1
                              i 9.   'J"he foregoing acts and omissions of Defendant constitute numerous and
                  I

           n,i multiple negligent violations of the TCPA,          including but nol limited to each and every one of

                      the above cited p.-ovisions of 47 U.S. C.§ 227 el seq.


                                                                  CcmpJaint - 4

                                      -    - - ·- - - - - - - - - - - - -
Case 2:16-cv-06202-CAS-PJW Document 1-1 Filed 08/18/16 Page 7 of 17 Page ID #:13

                                        i_




                     20.      i\s a result of Defendant's negligent violations of 47 U.S. C. § 227 et seq.,
    ?.   Plaintiff is entitled an award of $500.00 in statutory damages, for each and every violation,

    3    pursuant to 47 U.S. C.§ 227(b){3)(B).
    4                21.      The foregoing acts and omissions of Defendant constitute numerous and

    5    multiple knowing a.'lcl!or willful violations of the TCPA, including but not limited to each and

    6    every one of the above cited provisions of 47 U.S. C. § 227 et seq.
    7                22.      A.s a result of Defendant's knowing and/or willful violations of 47 US. C. § 227
    8    et seq., Plaintiff is entitled an award of $1,500.00 in statutory damages, for each and every
    9    violation, pursuant to 47 U.S.C. § 227(b){3){B) and 47 US. C.§ 227(b)(3)(C).

   10                23.      Plaintiff is entitled lo and seek injunctive re!ief prohibiting such conduct in the

   11    fi.Jture.

   12                                              PRAYER FOR RELIEF

   l3                WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

   14    Defendant for the following:

   15                      A. As a result of Defendant's negligent violations of 47 U.S. C. §227(b)(l),
                              Plaintiff is entitled to and requests $500 in statutory damages, for each
   16                         and every vioJation, pursuant to 47 U.S. C. 227(b)(3)(B);
   17
                           B. As a reSlJlt of Defendant's willful and/or knowing violations of 47 US. C.
   18                         §227(b)(J), Plaintiff is entitled to and requests treble dan1ages, as
                              provided by statute, up to $1,500, for each and every violation, pursuant
   19                         to 47 U.S. C. §427(b)(3)(B) and 47 U.S. C. §227(b}(3)(C); and
   20
                           C. Any and al.l other relief that the Court deems just and proper.
   21

   22
                                 PLATNTIFFBERE.B'i REQUESTS A TRlAL BY JURY
   23
                              Respectfully submitted this J 5"' day of July, 2016.
   24

   15                                                 By:             ~--
                                                              Todd M. Friedman, Esq.
   26                                                         Law Oftice..s of Todd M. Friedman, P.C.
                                                              Attorney for Plaintiff




                                                            Comp1tdnt- 5
Case 2:16-cv-06202-CAS-PJW Document 1-1 Filed 08/18/16 Page 8 of 17 Page ID #:14



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                                                                                                                                                                         ~~.;; ~n1t~r~/~'fl'"
                 324 S. Beveriy Dr., #725
                 Beverly Hills, CA 90212
                           '<tE?HOUF WJ'             877-206-4 74 j        F»CNC' 866-633-0228                                                                                   _0          • ~:f.,":f'la
               noeNEYFMr"'~''                        Plaintiff, MAURICE PIERCE
            SUPERIOR COURT OF CAUFORflhA, COUNTY OF                                        LOS Angeles                                                                   JUllg
                       sTRm AOOR•;;s·I 11 );orth Hill St.                                                                                         J/iQo       i, ..,         .                l{}ffJ
        I           M'"""""""e"" Ill North Hill St.                                                                                                    13 . · ~a'ler E
                    "'""''"ozrP= LosAn~les CA90012                                                                                                        . (i/or!e/t~ xeculive 0
        ''             .."""" ""''"' Stanley 1osk Courthouse                                                                                                          Rob,nsv 'flcer;c;
                 CASE 'A\-1~:
                                                                                                                                                                                             11. Oep111y nr~
                                                                                                                                                          1
                 Maurice Pierce v.                           Pn;Ht     Leasinrr LLC, dba Prorrrcssive Finance                                                                                                              -~
                       CIVIL CASE COVER SHEET                                                           Compfex Case Designation
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                        demanded
                        e<ceeds $25,000)
                                         derr.anded is
                                         $25,000 or less)
                                                                                                    Fi~-ed wflh first appearance by defendant
                                                                                                        (Cal. Rules of Court, rule 3.402)
                                                                                                                                                              JUQGi':;

                                                                                                                                                                OI:PT!
                                                                                                                                                                                                     "'                               I
                                                                          flems 1-6 below must be completed (see mstroctlons,_,o::n:lp:::ag=e'-'2"1:..·- - - - - - - - - - - - - - - ,
             , _ Check one box beiow for the case type that best describes this case:
                  Auto Tort                                                                     Contraet                                          Provtstonally Compiex Civil Lltfgatlon
                  D          Auto(22)                                                           0 Breach of cont.ractfwarranty {06)               (Cal. Rules       ot Court, rules 3.40ti-3.40.3J
                  0          Ur;insu~ed mololisr (46}                                           D Rt.:le 5.740 conec:Uons (09}                    CJ      AntitrusVTrade regulation {03)
                  Other PiJPDIWD {PersonaJ lnJury(Prope-rty                                     0 Other coliecHO!ls (0'9)                         D       Conslructlort defect (10}
                  Oarn.ageiWrongftll Death) Tort                                                0 Insurance covePJ-ge {18}                        C       Mas.a tort (40)
                  D          Asbestos (04)                                                      0 Other contract {37)                             CJ      Securities !itlgatlon (28)
                  0          ?roduct :laQUity (24)                                              Reo I Property
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                                                                                                                                                  1_1     Eovironmentai!Toxic tort {SO}
                  D          i'bJdiwl malpractfce {45i                                          D Emintffit    domainilnve~Se                     c       lnsurer:ce coverage claims arl:sl~g ftor.'l tfle
                  f"-J       Other PIIPQN,"Q {23)                                                      condemnation {14}                                  above l!sted provisionally complex case
                  Non..PIIPCIWO (Other) Tort                                                    0 Wrongful ovlctton {33)                                  types {41}

                 D           Business tctUurfalr busmcss                       ~Hactice (C7}    0 Olhe: mal ptoperty (26)                         Enforcement of Judgment
                 0    Cr1H r ghfs (08)                                                          Un!awful Detainer                                 0       Enforcement of Judgment (20}
                 CJ   Deiarnatlon ( 13)                                                         D    Commercial (:3 1}                            Miscallanooua Civil Complaint
                 C    Fraud {18)                                                                D       Residential (32)                          D       RIC0{27)
                 ~--1 lnlelleCMt property (19)                                                  0       Dtugs(38)                                 D       Other complaint (not specl!ied above) (42)
                 D           Profs-sslonal negliGence (25)                                      Jt~dlclalRevtew                                   MlsC1Jl!ane<Jus Clvll Pi;titlon
                 [Lj         Othoi non-PIJPDM'O                    tort (35}                    0       Assai forialture (05)
                                                                                                                                                  D       Partnership and c:orpomte governance {21)
                                                                                                0                  arbitra~on award { 11)
                                                                                                        Pelftion re·
                                                                                                                                                  0       Other petlfl:m {not specified above) (43)
                                                                                                0       Wt!l ot mandato {02)
                                                                                                f.,_]   Other judlcl~l nwlew {39
       2. Th;s case                                  s                   Is not          complex under rule 3,400 of the California Rules of Court. lf the case is corr::p;ex, mark the
                  faC:ors requiring exceptioflal judfciai management
                  a.   I     ~ Lal'!}e number of separately represented parties                                        d.   D       Large n~mbsr of witnesses
                  b.l_J           Extensive motion practice raising difficult :r no'lel                                e.   0       Coordination vJfth rslated actions pending in cne or more COL:rt~
                                  issues th;:;.t will be time-consuming to resolve                                                  In other countf.es, states, O!' countries, Of in a federal court
                  c.   0          Substantial amount of dccumentary evidence                                           f.   LJ      Substantial postjL.:dgment Judicial supeNision
        3. Hemedies s:=~ug'lt (cheCK ail that apply): A                                      [Z} monetary b.[ZJ nonmon~t.a.ry; declaratory Of injunctive relief                                           c. Opunltive
       .t... Number or C(:!IJSes of ac:ion (.'5.per:if.;)" 3
       5. T;,is casa                     0           is         L..LJ rs not            a class action suit                                                     _      ~
       6.         If there a""e any know~ related cases. file and serve a notice of related :::ase. (You may us;;;omr Cl~;:.fJ:'r5.i

   Do:e. June 15,2016                                                                                                                             /~~                           ---------·
   Todd M. Frieclman .                                            _
                                                          (l"'i.·,.•:n-rnmrri!'-'·U:)
                                                                                                                                    ~        ·-::'-"
                                                                                                                                             ' t'StG
                                                                                                                                                                       _,..------
                                                                                                                                                               ~TfA'I";6R.NF.YFCRI"'AA1'>')
                                                                                                                                                                                                            -----

    . P!~;~;itf mu.s~-~\e t~is                               cover sheet with the            fi~t paper filed in ~':~~;~·:~~:::~Jng (except smail claims cases or cases fi:ed · --·--·-
                 unaer the Probate Code. Famity Code., orWeffare and !nsiillfti.ans Code). (.Cal. Roles of Court, rule 3.220.) Fatlure to tile may result
   r
   j •
             o
                 tn sanctions.
                 File !hi:-; cover shoct in addition to any cover !.:heel required lJy local court n..Jie.
                 \f-~his esse is complex under r~te 3.400 et seq. c( the California Rules of Court, you must serve a copy cf this cover sheet on all
                                                                                                                                                                                                                                  I
   ;             other parties lo the ac'iion or proceeding_

   L:_~.:~ss :~~~ . ~~~~c~~~~:.~~-~~:_~~:::!:o=~-=pl:~::~~-.t-~s~~:~~~t~il~-~~~~~ statls!i~urposes on~.20 1 c:t~d
       filln~!i•l""tl!.~r/A~ .._;;,lu"f~l~11                                                   ClV!L CASE COVER SHEET                                            C:~!.R\.!~;<lfl;o<<rl_nMtZ::lC-3??J,~~co-~..;"!:ll. 'li''.,O:
             J<J:II;;~•'C::ou!ldl ~· :.:IU"I!l'N1t                                                                                      -                                  Clll. Sta-.dnt"l.b m.,ud:>l;l~AQtn.r.t!llmliM, Gfd. 3 10
              CM..O!OjRov.~ily Lr.001)                                                                                                                                                                 __ w.ow.~.,nJc.t:e~
                                                                                                                                                                                                     Amo:1ezti L~ll"kl !.."~!!.
                                                                                                                                                                                                     'JHIW.l'armsWr>ridlow.c.om
Case 2:16-cv-06202-CAS-PJW Document 1-1 Filed 08/18/16 Page 9 of 17 Page ID #:15




                                                                                                                                                               CM-010
                                                INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
   To Plaintiffs and Others FHiog Fltst Papers, If you ate filing a first paper (for example. a complaint) in a civil case, you must
   com~a1e a,'ld file, alcr:g v.rith your first peper, tho CiVJ1 Case Cover Sheet contained on page 1 This informaiion \'lill be used io compHs
   statistics about ':he types and mJmbers of cases filed. You must complete items 11hrough 6 on the sheet. In ITem 1, you must check
   one box !or the case type that bes1 descri!::es the cas£}. If the r::ase fits both a general and a more specific type of case listed in item 1,
   check the more specific one. !f the case has multiple causes o.f action. check the box that best indicates the primary cause of action.
   To assist you in corr.pleling 1he sheet, examples of :he cases that belong under each case type in item 1 are provided below. A cover
   sheet must b~ filed only v.rith your initial paper. Faihlre to file a :over sheet with the first paper fifed in a civil case may subj-ect a party,
   its counsel, or Pot!! to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
   To Parties In Rule 3.740 Collections Cases. A "collecticns case" under rule 3.740 is defmed as an action for recovery of money
   owed in a sum sta!ed to be certa!r: that Is not more thar:. $25,000, exduslve a{ interest and attorney's fees, arising from a transaciion in
   which prcperty. services, or rroney was acquired on credit. A oo11ecl.!ons case does not indude an ad!on seeking the following: (1) iort
   domages, (2) punitive damages, (3) recovery cf real property, (4} recovery of personal properly, or (5) a prejudgment writ of
   a::tachn:er:l The dentHication of e case as a 'tile 3.740 coliecticns e2se on this fonn means ll'lat it will be exempt from the general
   time-for-service requlremen:s and case manegerreni rules, unless a defendant fi~s a responsive pleading. A rule 3.740 coilecticns
   case will be subject to lhe requirements for seiVice and attaining a judgment ln rule 3. 740.
   To Partfes In Compl-ex Cases. In complex cases only1 parties must also use the Civil Cass Cover Shoot to designa!e whether the
   case ~s complex. ·fa plaintiff believes the case is complex under rule 3.400 of the California Rdes of Court, this must be Indicated by
   comp1eting the appropriate boxes in items 1 and 2. If a plaintiff designsfes a case as complex, ihe cover sheet must be served with the
   complaint on all parties to the action. A defendant may frle and serve no later than the time of Its first appearance a joinder in the
   plaintiffs designation, a counter-des'gnatlon that the case is not comple:<, or, i( the plaintiff has made no designation. a designation lhei
   the case is complex,                                                 CASE TYPES AND EXAMPl..S:S
   Auto Tort                                                   Contract                                             Provisionally Complex Ctvll Lltltr.~tl·on (Cal.
       Auto (22}-Persc:,,allnjury/Property                         Breach of Co!!lracf/Warranty (06)                Rule~ of Court Rules 3.400-3,40::3}
           Damagefv"Jrongful ':Ieath                                   Ereach cf Rental/Lease                            Am.itrus.UTrade Regutatfon {03)
       Uninsured Molorisl (46) {Jl tho                                     Contract (net unlawful dotalner               ConstrucUon Defect (1 0)
            cnse involvGs an uninsured·                                        orwrooafulevictfon)                       Clalms Involving Mass Tort {40)
            motorist Cf8im stJb/ect to                                 Contract/Warran~ Sroaeh-Se!ler                    Securllle5 Litigation (28)
            ar!JiJra):On, {;hecf{ !J;li~ ilBm                              Plalntlt!' (flat fraud or nagllge.nc&)         Environmentai!Toxic T<11't (30)
            msler.d ct Auroj                                           Nagngeni Breach of Contract/                       Insurance Coverage Claims
   Other ?f/P'O.IWO (Personal Jnjuryl                                      War-r<:1~ty                                       (srisi!lg frOm provisionally corr.pfe)(
   Property OamagaiWrongftJI Death)                                    Othor Breach of COntroc;t/\Mnranty                     ctl~C typa Ji5tsd obovu) (41)
   Tort.                                                           CoUeenons {e.g., money aned, open                 Enfor1;0ment of Jutlgment
       Ashesms: {04)                                                   bock accounts) {09}                                Enforcement cf Judgment (20)
           Asbeslos P:-operty Damag~                                   Collection Cese-Scl!er P\aln1lff                       Abstract of Judgment {Out o1
           Asbestos Personal Injury/                                   Other Promissory Note/Collections                         County)
                 wrongful Death                                            Case                                               Ccnfession of Judgment (no~
       Product Uabinty (r.ot asbestos 01                          Insurance Coverage- (not provts/onatly                           dame$llc relations}
           toxiclcnvironme;Uat) (24)                                   cornp!ex) (18)                                         Sister State Judgment
       Medical Malpractice (45}                                       /\Uto Suorogatlon                                       Administrative Aaency Award
           Medical Ma!pract!ca-                                        other Coverage                                            (not !Jnpalr:J taxes)
                 PhySICiMs & Surgeons                             Other Contract (31)                                         Pstitlon!Certlf~ealion of Enlry of
           ()!;her Profess;onal He~Hh Care                             Contractual Fraud                                         Judgment on Unpala Taxes
                  Malpr~ciJce                                          Other OontrQct Dispute                               Oiher Enfon::emarti CJf JUdgment
       O!.~r PUPDMIO {23}                                      Real Property                                                    Case
            Promisca Uaoi!ity {e.g., sHp                            E:mlncn! Oomulfl/lnverso                         Miscellaneous Clvll Complaint
                and fall}                                              Conclemryt~l:on ( 14)                              RICO (27)
            lnlentKm.al 6odFy !njury/?DIWD                          Wrongful Ev'clton (33)                               Other Cor.lf)lsir.t (r.ol specified
                                                                                                                            above)' (42)
                  (e.g .• assault, vandalism)                       Other Re:al Property (e.g., quiet Ulte} {28)
            !nlention<~l !nfticltor. of                                Writ o~ Pocsession of Reaf Prcperiy                  Declaratory Relief Only
                 Emolfonal Disiress                                      Mo1~gaoc.- F{lted~ura
                                                                                                                              lnJunctlva Relief Only   (nan~
                                                                                                                                  herassmsnt)
            Negligent lrfllcllon of                                      CUiet Tnla
                  Emolicnal Of.stre$S                                    Ol:har Real Property (not em/neqt                   Mechcnfes Ucn
            OU1er PI/POJWD                                               rJomr.;lr., htnd!crdlleno;mt, or                    Other Commereiai Comp(a!nt
   Non-PJ/POfWO (Otflc-r) Tort                                           farDCiosurs)                                             case (non-tortincm-"'...1'Jmp!e:t.)
                                                                                                                             Ot~er Cl\~1 Complaln1
       Business Tort!Unf'Jir B:~siness                         Unlawful Detal~t                                                  (norHorVnon-<:Omp/ex)
          Practice (07)                                             Comr.terdoll {31)
                                                                                                                     Mleceltaneous. Civil Petition
       Civil Righla: tc.g. aisa1m!nauon,                            Rcsitiunliu. (32)                                   Par..nershlp end Cotporata
            false am~:a) !nof aMi                                   Drugs {38) (if t.'u1 cass /r.i!o/>Jes t?legal            Governance {_21}
            hsrassmcr.f) {08)                                          dr!lf}s. r;heck this ifem; otherwise,            Olher Petition (~ot Bpscifred
       Oef.o;mation (e.g., sJan::ier. libe!)                           report as Ccrr.mercfel cr Residential}                above) (43)
           {13)                                                Judicial Review                                               Civil Harassment
       fraud (15)                                                  As~et Foffal!ura (GS)                                     Workplace 'v1otencs
       lnleHecwa; Proporly (1{))                                   PeHl:lofl Re: Arbitration Awatrl {11)                     l:l®rl~ril-PU!ldOr1 Adlill
       ProfD~:c1enoJ f·~!!i#!lg~ {I!::)                            V\ll'lt bf tM.Mato {132)                                       Abuse
           :..eg~! J~;M!practlce                                          \Ni 1!-Admi~lslratlva MandaiT!us                   Elcclion Conlest
           OIMr Pmfcs:>!oral Mt~Iproctice                                 Wdl Mandomu~ on Urniled court                      Pettuan for Namo Change
              (no/ n?e<ilca/ or fe:gtJ/}                                       Case Matter                                   Pectillon br Ro!lcf From Late
       OlhP.r Ncn-Plli''DIWD Toll (35}                                    \l\<1l!-0!1n:r Lhnl!ed Cou'l Case                        Claim
   Employm~nt
                                                                             Rovlev-J                                         Otller Civil Petlllon
       'Nrongful Te~rriM~km (:!6}                                  Other Judicial Ra'Jlew {39)
       Other E!r:pfoymen! (15}                                        Revkl.w o! Heallll Officer Order
                                                                      NoUt.'i! cf Appeai-L<J!Jor
                                                _ -·· ___ --~ .... _ _ _qnmm;s...,lcner &12'!!1..!§
                                                                   CIViL CASE COVER SHEET




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Case 2:16-cv-06202-CAS-PJW Document 1-1 Filed 08/18/16 Page 10 of 17 Page ID #:16

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                                                                                                                  CDPY
 SHeRi   rrn:::
                  Maurice Pierce v. Prog Leasing LLC, dba Progressive Finance
                                                                                                              CASE NUMBER
                                                                                                                                       1.6 K o
                                  CIVIL CASE COVER SHEET ADDENDUM AND
                                          STATEMENT OF LOCATION
                  (CERTIFICATE; OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATiON)
r--------------------------------------------,
           This form is requir.ad pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court.

  Item I. Check the types of hearing and fill in the estimated length of hearing expected for this case:
     JURY TRIAL?v"fts               CLASS ACTION? YES LiMITED CASE? YES                         TIME ESTIMA'rEIJ FOR TRJAL_:c2;..-3_ _ _ ___,_,H,o,u'-'R"SI'-'J-"0o;;AuY-"'S

   Item II. Indicate the correci district and courthouse location (4 steps -If you checked 'Limited Case', skip to Item Ill, Pg. 4):


    Step 1 : After first completing the Civil Case Cover Sheet form, fihd the main Civil Case Cover Sheet heading for your
    case in the left margin below. and, to the right in Column A, the Civil Case Cover Sheet case type you selected.


     Step 2: Check ruJJl Superior Court type of action in Column B below which· best describes the nature of this case.

    Step 3: In Column C, circle lhe reason for the court location choice that applies to the type of action you have
    checked. For any exception to the court lccalion, see Local Rule 2.3.

                             Applicable Reasons for Choosing Courthouse Location (see Column C below)                                                 ! ••.
      1. Class actions must be filed in tr.e Stan1ey Mosk Courthouse, cen!ral district                6. Location of prope~ or pcrmanonHy garaged v~hiele:.
      2. May ~e filed il'! central {ottlet: county, or nc bodily Injury/property damage}.             _7. Location where petilloner resides.        ·
      3. Lw...aocn 'Nhere cause of act101'! arose.                                                   8. Location ~-..herein defcr.:danl!rcspondent functions y.Jhally.
      4. Locatlcn '!!here bodily injury. dealh or dama_go occurred.                                  9. Localion\'t'here one or more of the partfes reside.
      5. Location where perronnance required or de;endant resides.                                  10. Location of Labar Conunissioner Office
                                                                                                    11. Manda'tory Filing location {Hub Case)

    Step 4: Fill in the infonmation requested on page 4 in Item Ill; complete ftem IV. Sign the declaration.




                            Auto{22}                  D A7100 MctorVehicle. ?ersonallnjury/Property DamagetWrongful Death                               1.. 2.. 4.

                     Uninsured Motorist {45)          0   A711 o Personal Injury/Property Damago.-Wrongful Death - Uninsured Motorist                   1., 2 .. 4.



                         Asbesloo (04)          I     0   A6070 Asbestos Property Damage                                                                2.                     I
                                                                                                                                                                               i
              ~-------------------~~o___A_7_22_1__t~-~
                                                    __s_t~
                                                        __-_P_c~__oo_"_'_"v_i__
                                                                             l YN_•w__~_r_"_'D_e_a_n'------------------~2_.______________ 1
                      Prcouct Uobflity   (24)         0   A7260 Product Uabifity (not asbes:os or toxicJen\tircnmental)                                 1., 2., 3., 4., 8.




                                                      0   A7250· Premises Liabillti (e.f! .• slip and ratl)
                                                                                                                                                        1.,4.
                         C!fler Psrsonai
                        Injury Pro-perly              0   /\7230 Intentional Bodily lnjurj/Properly OarnageAIIJrongful Death {e.g.,
                                                                                                                                                        1.,4
                       OnmQue Wro11gful                            assaJ!t, vamJa!lsrn, etc.}
                          Cealh (23}                                                                                                                    1.. 3.
                                                      0   A7270 ln1enHon~llnflicUon of f.rrotlonal Oisti'C$s

                                                I     0   A'l2ZO Othe'r Pcrsonallnjury/Proper!y DamageNVmngful Death
                                                                                                                                                        1., -1.




  I.ACIV 1C9 {Rev 3115)                         CIVIL CASE COVER SHEET ADDENDUM                                                                     Local Rule 2.3
  lASC Appro'X.Kt 03-0·1                           AND STATEMENT OF LOCATION                                                                            Page 1 of4
                                                                                                                      --·       -·------·-------
Case 2:16-cv-06202-CAS-PJW Document 1-1 Filed 08/18/16 Page 11 of 17 Page ID #:17




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i
    SHOMTn ·"LE:
                   Maurice Pierce v. Prog Leasing LLC, dba Progressive Finance
                                                                                                                        I CAS;:: NUMBER




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                                                                                                                                                                      ·_- =F!l.1a'sl»'1s'" Se~Siep_3
                                                                                    .· ..
                                                                                                                                                        -         ·          •          Al:love
                                                                                                                                                                                         . ::. ~:-.·   --· ---
                           Business Torf (07J             0           A€029 Other CommerctaUBusiness Tort (n<rl fraud/breach of contract)                                  1 .• 3.

                            ~i'lil   Highis {08)          0           A-30C5 Civil Rights/Olsc:r;mlnatlon                                                                  1., 2., 3.

                            D~famalion      {13)          0           A601 0 Defamai1on {slander/libel)                                                                    1., 2., 3.                               t
                   r----------r--~-----------------------+-------1
                                  Fraud (1Sl              D           A6013 Fraud {no contract}                                                                            1., 2., 3.

                                                          D           A6017 Legal Malpractice                                                                              1.. 2., 3.
                    Pro-ressiona! Negligenca (25)
                                                          0           A6050 Other Professional Maipractice (not medical or legaf}                                          1., 2.. 3.

                                  01her (35)             : Ql         AG025 Other Non-Personallfiury/Property Damage tort                                                  2.,3.
                                                         i

                     Wrongful :·!"!nrlnBtion {36)         D           A6037 Wrongful TermlnEJtion                                                                          1., 2., 3.

                                                          D          /\B024 Other Emp'oymer:t Complaint Case                                                               1.. 2., 3.
                       Other l:::nployment (15)
                                                          W A61Q9 Labor Commissioner Appeals                                                                               10.

                                                          D           Ae...~   Breach cf Rental/Lease Contract (not unlawful detainer or wrongful
                                                                               evialon)
                                                                                                                                                                           2.. 5.
                    Breach o1 GontracV'vVatranty                                                                                                                           2.. 5.
                               {:JU)                      0           A6C08 COJ:trac'.JW"arr(lflty Breach -sener Plaintiff {no fra!JG/negr~geoce)
                             (not :nsurnncc}              D           A601 Q NP.gligent Htt'lach of ContractNVart'.dtlfY {no frCJud)                                       1 .• 2.. 5.
                                                                                                                                                                           1., 2., 5.
                                                          D          AG028 Other Broach of Contrac'JWarranty {net fraud or negligence)

                                                          0          A6002 Co/leclions ~se-Scllcr Pla!f'tlff                                                           !2.,5.,6.11
                            CO!lecticns (39)
                                                          0          A6012 Other Promissory Note/Collections C2se                                                      J   2 .. s. 11
                                                          C:          i\6034 Coll!!clions Case-Purchased Debt {Charged Off Consumer Detr.
                                                                               Purchased en or after Januarv 1. 20"14~
                                                                                                                                                                       15, 6, 11
                      lnst,;rnnce Cov-erage (16)         jC          A6015 Insurance Coverage (not comp:ex}                                                                1 '2.. 5.. 8.

                                                          0          A6009 Conlractuat rraud                                                                               1., 2., 3., 5.
                         Other ConlJ<:lct {37)            0          A8031 !ortlous lnterferenca                                                                       ,1 . 2., 3., 5.
                                                          [1         1\8027 Ol'le!    Co~ltre~t Dispufe(not breach/itsuranceffr~ud/negligenr..e)                       l i., 2., 3.. 8.

                      F.minenl Domain/Inverse                                                                               Nt,mber of po.rccls _ __
                                                          ~          A7300 Eminent Don·.aintCondemnation                                                                   2.
                        Condernnctioo (14}
               r-------~~~----~------------------------~+----·----
                        V-Jrongful Eviction (33)          0          A6023 Wrongftl; Elli('.1ion Case.                                                                     2.,6.
               r-----------~----------------------------------r--------
                                                          D          A6018 Mor.gage Fo~?.clost:re                                                                          2.,6.
                                                          D          A6032 Qulet Title                                                                                     2.,6.
                                                          0          .li.,OOOiJ Ol!RJ1 Hvol Ptvuu.ly (uu1 wtriw.ml Vumt:r.t;, lcllltl!un.lltt:J!dll, iun:Wsure}            2:., 6.

                   Unlawf:..!l   Deminer-Com~erclal                  ,_ 0 ~,
                                     (Ji}                 0          1-\uw..   Untawfui Uetaincr..Comrnercial (not drugs or\.'..'TOOgfuJ eviction)
                                                                                                                                     ----------+-- -·- - - - -
                   Unl<.~wful Dclaincr--l<c5icler.liJ!
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                                      32

                          Unbwful Detainer-.
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                   Unlawf!ll Oetaincr.o:ugs (:Ja;
                                                          fl A60?.0 Unlaw1ui Delzinar-Hesictenllal (not tlrugs or\~ongful eviction)

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                                                                     A60?0fUnia\V~H1__ --·-
                                                                                       O~:t<::ner-Post--Foreclosul?.
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                                                                     A6022 lJntav/ut O~h;'Mr-Drugs                                                            ...
                                                                                                                                                                           2., 6.

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               '------------~-----------------------------~~------
    JAClV 109 (Rev 3/15)                                 CIVIL CASE COVER SHEET ADDENDUM                                                                          Local Rule 2.3
    LASC Approved 03 ·04                                    AND STATEMENT OF LOCATION                                                                                      Page 2 of4
Case 2:16-cv-06202-CAS-PJW Document 1-1 Filed 08/18/16 Page 12 of 17 Page ID #:18




IsHoKr<~~'"'   Maurice Pierce v. Prog Leasing LLC, dba Progressive Finance                                         I    CASE"'"""""

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                 • -cvt1 caslf <io~ds·liae<·                                                                                          ·-~-.
                         CalegoryN<•
                    ·- . _-:;' ,.. -~·-    . ::"   -~- .

                     A..c;set f"orfeiture (05)                 0    A6108 AssetFcrfeittJreCase                                                     2.,    e.
                 Petition :e Arbftrat/on (i 1)                 0    /1.6115 Petition to Compci/ConfilmNat;ateArbi!ralion                           2., 5.


                                                               D    A6151 WritAAdminlslrativeMandamus                                              2., 8.
                     Wrtl of Mandate (02)                      0    A6152 Writ- Mandamus on Umited Court Case MaUer                                2.

                                                               0    A6153 Writ -othe~ Umiled Court Case Review                                     2.

                 Otl)e1' Judtc.ial Review (39)                 o    A615D otnerWrit /Judicial Review                                               2 .. 8.
                                                           '
               Antitrustrrrade Regulation (03)                 t:l A5003 Antllrusi!Trade Reguiaiion                                                1., 2., 8.

                  Coos~ruc-Jcn Defect       (10)               D A6007 Ccnstructian Defect                                                         1., 2 .. 3.

                 Clalms fnvorvtng Mass Tnrt
                            (40)
                                                               CJ A€006 Claims Involving Mass Tort                                                 1 .. 2 ..   a

                  Securities litigaTion {28)                   0    A6035 Securities Uiigation Gase                                                1 .. 2 ..   a.
                          Toxic Tort
                      Envircnmenta: (30)
                                                               0    A6036 Toxic Tort!Envlronment.e!                                            11., 2.• 3.. s.
                                                                                                                                               i
                Insurance Coverage Claims
                                                               D    A6014 insurance Coverage/SUbrogation (complex case only)                       1., 2 .. s..     a.
                  from Complex Case (4i)

                                                               0    A5141 Sister State Judgment                                                    2,, 9.

                                                               0    A€160 Abstractof.Judgmcnt                                                      2,6.

                            E!lforcemeni                       0    Aa·JOr Confession of Judgment (non-domesilc rela!!ons)                         2., 9
                          ol' .Judgment {20)                   0    A6140 f..dmin;stmtiveAgency Award (nol unpaid taxes)                           2 .. 8.
                                                           , 0      A611.4 PatltiorJCertificateforf.:ntry of Judgmenl on Unpatd Tax                2 ..   a.
                                                               n    A6112 Other Enforcement of Judgment Case                                       2., B., 9.

                             RICO (27)                         0    A6033 Racketeering (RICO) Case                                                 1., 2., B.

                                                                    A6030 Declarato;y R~ief Only
                                                                                                                                               '
                                                                                                                                               i




                                                                                                                                              ~
                                                                                                                                               [:::::·B.
                                                               0

                     0/her Complaints                          0    AS040 JnjLKictive Relief Onfy (not domesijc/harassmen!)
                 (Not Specified Above} {42)                    0    A6G11 Other Commercial Gcmplaint case (nonFtortJnon.ccmpLex)                       ., 2., B.
                                                               Il A6000 Other Civil Complaint (non-torUnon-.;omp:lex)                              1.. 2 .. 8.

                  Pa1nership C.')rporation
                                                               0    A61"13 Partnership and Corporate Govan1.:tnce Case                             2 .. 8.
                    Govomance (21}
           ~------~--+---------------------------------r-------~
                                                               0    A6121 Civil Harass:ncnt                                                        2.. 3.. 9.
                                                    . -    _fr-:<\~2!t        W«Y.pl•a<rHlrfllllmmli'rf.                                      ·-·h-......,.--------t---
                                                                                                                                                 z.. J., 9.
                                                               0    A$1 24 Eider!Depcndenl Adult Abwse Case                                        2 .. 3., 9.
                     O~her Pe~itions{Nof
                   Spec'fte<J P,bcve) (43}                     []   A5190 Election r:or.test                                                       2
                                                               n    J\0"1~0   Petitio:) for   Ch<:~nHC   of Name
                                                               u    A5170 Petitio11 for Relief "from Late Claim L<:1w
                                                               0    AS100 Other Civil Petition
               -·---··-··-·------·--·-'------'---------------
                                   -


  LACIV 109 (Rev 3115)                                     CIVIL CASE COVER SHEET ADDENDUM                                                    Local Rule 2.3
  U\SC f,pproved 03<>1                                        AND STATEMENT OF LOCATION                                                            Page 3 of4
Case 2:16-cv-06202-CAS-PJW Document 1-1 Filed 08/18/16 Page 13 of 17 Page ID #:19



 , sHoRr fiTI.E;                                                                                 CASCNUMBER
                   ~aurice   Pierce v. Prog Leasing LLC, dba Progressive Finance


       Item IlL Statement of location: Enter the address of t'le accident, party's residence or place of business. performance, or other
       circumstance indicated in Item II., Step 3 en Page 1. as the proper reason fer filing in the court location you selected.
   ,__,__. ---·                                                                i M>:lRESS:
   I
   , "REA.<:iON: Check tho appropriate boxGs for 1ho numbers shown !1775 Mlrnmar St
   I under Column C for the type of action that you have selected for i
   I this case.
   '
   CJ 1. o 2. YJ3. r; 4.f.l5. o 6. n 7.   o 8.   ·' 9 ... to. ·: 11.

                                                   STA1E:         7.1PCOl:F:

       Pomona                                      GA             91767

   !tern IV. Declaration of Assignment I declare under penally of perjury under the laws of the State of California ~hat tl;e foregoing is true
   and correct and that the above-entitled matter is property filed for assignment to the Stanley Mosk                         courthouse in the
       Central                   District of U1e Superior Court of Ca!iiornia, Coun!y of Los Ange!es [Code Civ. Proc., § 392 et seq .. and Local
   Rule 2.3, subd.(a).




   Dated: July 15, 2016
                                                                                             (SiGNATURE Of ATTOPJ\':YFtUNG PARTY)




   PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
   COMMENCE YOUR NEW COURT CASE:

          1.     Original Complaint or PetiTion.

          2.     If filing a Complaint, a completed Summons fonn for issuance by the Clerk.
          3.     Civil Case Cover Sheet, Judicial Council fonn CM-01 0.

          4.     Civil Case Cover Sheet Addendum and Statement of Location fortn, lACIV 109, lASC Approved 03-04 (Rev.
                 03/15).
          5.     Payment in full of the fil:ng fee, unless fees have been waived.

          6.     A signed order appointing the Guardian ad Litem, Jt:dicial Council form CIV-01 0, lfthe plaintiff or petitioner is a
                 minor under 18 years of age will be required by Court in order to issue a summons.

          7.     Add~lonal copies c7 documents to be confonned by the Clerk. Copies of the cover sheet and this addendum
                 must be aerved along with the summons and complaint, or ether initiating pleading in the case.




   IACIV 109 (Rev 3115)                          CIVIL CASE COVER SHEET ADDENDUM                                               local Rule 2. 3
   L/\SC Ap,>roved 03¥04                            AND STATEMENT OF LOCATION                                                     Page 4 of 4
     Case 2:16-cv-06202-CAS-PJW Document 1-1 Filed 08/18/16 Page 14 of 17 Page ID #:20




•J

                                                                                            FILED
                                                                                LOS ANGELES SUPERIOR COUR'T
     2
                                                                                             MAR 0 7 2015
      3
                                                                                SHERR! R. CART~EXECUTIVE
                                                                                                    OFFICERICI.fRI<
      4                                                                              (!..
                                                                                            BYC. CASAREZ, DE
      5
                               SUPERIOR COURT OF THE STATE OF CALIFORNIA
      6
                                        FOR THE COUNTY OF LOS ANGELES
      7

      a
           In re Limited Civil Jurisdiction Cases Calendared            )        Case No.:
      9    in Department 77 (Non - Collections Cases)                   )
                                                                        )        200 AMENDED
     10
                                                                        )        GENERAL ORDER
     11                                                                 )

     12                                                                 ~
     13
              TO EACH PARTY AND TO THE ATTORNEY OF RECORD FOR EACH PARTY:
     14
                  Pursuant to the California Code of Civil Procedure, the California Rules of Court, and the
      15
           Los Angeles County Superior Court Local Rules, the COURT HEREBY ISSUES THE
      16

      17   FOLLOWING GENERAL ORDERS THAT SHALL APPLY TO ALL LIMITED CIVIL (NON

      18   COLLECTION) CASES FILED AND/OR HEARD IN DEPARTMENT 77.
      19
                   1.         PLAINTIFF(S) IS/ARE ORDERED TO SERVE A COPY OF THIS GENERAL
      20
           ORDER ON lliE DEFENDANT{S) WITH COPIES OF THE SUMMONS AND COMPLAINT
      21

      22
           AND TO FILE PROOF OF SERVICE, AS MANDATED IN THIS ORDER.

      23           2.         The Court sets the following trial date in this case in Department 77 (1h floor,
      24    Room 736) at the Stanley Mosk Courthouse, Ill North Hill Street, Los Angeles, CA 90012:
      25

      26                                                      •   ~, "" t ~um          OSC; 0 7 I 151201!
                        TRIAL:
      27
                          •        D a t e : - - - - - - - - - - - - at 8:30a.m.
      28




                                             Second Amended General Order- Page 1 of 4
                                                                   I,       :
Case 2:16-cv-06202-CAS-PJW Document 1-1 Filed 08/18/16 Page 15 of 17 Page ID #:21
.   .

    1                                 SERVICE OF SUMMONS AND COMPLAINT
    2
                    3.        The trial date set forth above is conditioned on the defendant(s) being served with
    3
             the summons and complaint within six (6) months of the filing of the complaint. The trial date
    4

    5
             may be continued to a later date if service is not accomplished within six months. The parties

    6        may stipulate to keep the original trial date even if service of the summons and complaint is not
    7        completed within six months of the filing of the original complaint.
    8
                    4.        The summons and complaint shall be served upon the defendant(s) within three
    9
             years after the complaint is filed in this action. (Code Civ. Proc_, § 583.210, subd. (a).) Failure
    10

    11       to comply will result in dismissal, without prejudice, of the action, as to all unserved parties who

    12       have not been dismissed as of that date. (Code Civ. Proc., § 581, subd. (b)(4).) The dismissal as
    13
             to the unserved parties, without prejudice, for this case shall be effective on the following date:
    14

    15

    16
                                         UNSERVED PARTIES DISMISSAL DATE
    17

    18

    19

    20

    21               5.        No Case Management Review (CMR) and no Mandatory Settlement (MSC) or
    22
              Final Status Conferences (FSC) will be conducted in this case.
    23
                                                      LAW AND MOTION
     24

    25                   6.    All regularly noticed pretrial motions will be heard in Department 77 on

     2(l      Mondays, Tuesdays, Wednesdays, and Thursdays at 8:30a.m. A motion will be heard only if a
     27
              party reserves a hearing date by going to the court's website at www.lacourt.Qrg and reserving it
        28




                                              Second Amended General Order- Page 2 of 4
Case 2:16-cv-06202-CAS-PJW Document 1-1 Filed 08/18/16 Page 16 of 17 Page ID #:22




1        through the Court Reservation System (CRS). All motions should be filed in Room I 02 of the
2
         Stanley Mosk Courthouse.
3
                7.      Tentative Rulings may be posted on the Court's internet site no later than the day
 4

5
         prior to the hearing. To access tentative rulings, parties may go to lacourt.org, select "Civil"

 6       Division, and then click on "Tentative Rulings."

 7
                                           EX PARTE APPLICATIONS
 6
                 8.      Ex parte applications must be noticed for !:30 p.m. in Department 77. All ex
 9
         parte application fees must be paid by I :00 p.m. in Room I 02 of the Stanley Mosk Courthouse.
10

11                                                    JURY FEES

12               9.      The fees for a jury trial shall be due no later than 365 calendar days after the filin
13
          of the initial complaint, or as otherwise provided by Code of Civil Procedure section 631,
14
          subdivisions (b) and (c).
 15
                                      STil>ULATION TO CONTINUE TRIAL
 16

 17               10.    A trial will be postponed if all attorneys of record and/or the parties who have

 18       appeared in the action stipulate in writing to a specific continued date. Ifthe stipulation is filed
 19
          less than five (5) court days before the scheduled trial date, then a courtesy copy of the
 20
          stipulation must be filed in Department 77. A proposed order shall be lodged along with the
 21
          stipulation. The Stipulation and Order should be filed in Room 118 of the Stanley Mosk
 22

 23       Courthouse with the required filing fees.

 24
                                                         TRIAL
 25
                  11.     Parties are to appear on the trial date ready to go   tQ   trial,   ailu   muat nit~l &ul
 2{1

          confer on all pretrial matters at least 20 calendar days before the trial date. On the day of trial
 27

    28     the parties shall bring with them to Department 77 all of the following:

                  i.      A printed Joint Statement ofthe Case;

                                         Second Amended General Order - Page 3 of 4



                                                                                                - - - - - -------- --   -·   ·- --
Case 2:16-cv-06202-CAS-PJW Document 1-1 Filed 08/18/16 Page 17 of 17 Page ID #:23




  1        iL      Motions in Limine, which must be served and filed in accordance with the Local
  2
                   Rules of the Los Angeles Superior Court (LASC) ~local rule 3.57;
  3
           iii.    A printed Joint Witness List disclosing an offer ofproofregarding each
  4

  5                testimony, the time expected for testimony, and the need of an interpreter.

  6        iv.     Joint Exhibits in Exhibit Books, numbered appropriately, and Exhibit List;
  7        v.      A printed Joint Proposed Jury Instructions, and
  8
           vi.     A printed Joint Proposed Verdict form(s).
  9
           FAILURE TO PROVIDE ANY OF THE AFOREMENTIONED DOCUMENTS
 10

 11   ON THE TRIAL DATE MAY CAUSE A DELAY IN THE CASE BEING ASSIGNED TO

 12   A TRIAL COURT.
 13
           GOOD CAUSE APPEARING THEREFORE, IT IS SO ORDERED.



                  sp )!(p
 14

 15
      DAWD
 16
                          I .
 17                                              Hon. Kevin C. Brazile
                                                 Supervising Judge of Civil
 18

 19

 20

 21

 22

 23

 24

 25



 27

 28



                                 Second Amended General Order- Page 4 of 4
